" Case 3:18-_cV-Ol768-.]PG-SCW` Document 1-2 Filed109/26/18 Page 1 of 2 P-age |D #13

AO 440 (Rev. 06."12) Summons m a Civil Action

UNrTED STATES DISTRICT CoURT
for the

Southern District of Illinois

 

Terry L. Laney Jr.

 

P!aint§rf]”(s)

V- ` Civil Action No. 18~0V-1768

Prairie Farms Diary, |ncoporated and Rici< Diak

 

Defendant(s)

suMMoNs IN A CIVIL ACTION `

TOZ (Dej%ndant’s name and address) F’I'all`ie Fal'mS Diat'y, lnCOrpOraled
1800 Adams Sfreef
Granite City, |liinois 62040

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the clay you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served 011 the plaintiff or plaintiffs attorney,
whose name and address are: _Donne|| Smiih '

Donne|| Smith and Associates, LLC
6101 De|mar Bou|e\rardf Suite A
Saint Louisl Missour63112

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

` CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

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_ __ PROOF OF SERVICE
(Thr's section should not be filed with the court unless required by Fed. R-. Civ. P. 4 (D)

ThiS Sul’l].mOI]S for (name of individual and title, ifany)

 

was received by me on (dare)

EI‘ l personally served the summons on the individual at (vlace)

 

on (dare) ; or

 

- 13 l left the summons at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and'discretion who resides there,

on (dare) , and mailed a copy to the individual’s last known address; or

ij l served the summons on (name ofindividml) , who is

 

designated by law to accept service of process on behalf of (name ofargam'zarion)

 

 

on (dare) ; or
El l returned the summons unexecuted because _ ; or
g Otl'lel' (speeij/).'
My fees are $ for travel and $ for services, for a total of l$ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Prinrea' name and title

 

Server ’s address `

_.Additional information regarding attempted service, etc:

